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                    UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF FLORIDA
                           OCALA DIVISION


BRETT TABOR,

     Plaintiff,

v.
                                                CASE NO. 5:23-cv-00376-JA-PRL
ADVANCED PLUMBING TECHNOLOGY,
LLC, a Florida limited liability company

     Defendant.


     DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
                  PLAINTIFF’S COMPLAINT

      COMES NOW, Defendant, ADVANCED PLUMBING TECHNOLOGY, LLC

(“APT”), through undersigned counsel, and files its Answer and Affirmative

Defenses to Plaintiff, BRETT TABOR (“Tabor”), Complaint and states as follows:

                              CAUSES OF ACTION

      1. APT admits that Tabor purports to bring claims of age discrimination

under the Age Discrimination in Employment Act (“ADEA”) and the Florida Civil

Rights Act (“FCRA”), claims of religious discrimination under Title VII and the

FCRA, and a claim for disability discrimination under the Americans with

Disabilities Act (“ADA”), but denies any violation of any federal or state law or any

wrongdoing towards Tabor whatsoever. Except as expressly admitted, APT denies
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the remaining allegations, inferences, and legal conclusions contained in

paragraph 1.

                         JURISDICTION AND VENUE

        2. APT admits the allegations in paragraph 2 for jurisdictional purposes

only.

        3. APT admits the allegations in paragraph 3 for jurisdictional purposes

only.

                                  THE PARTIES

        4. APT is without sufficient knowledge to admit or deny the allegations,

inferences, and legal conclusions in paragraph 4 and, accordingly, denies the same.

        5. APT admits it is a Florida Limited Liability Company with its principal

place of business located in Clermont, Florida. APT denies each of the remaining

allegations, inferences, and legal conclusions contained in paragraph 5.

                           GENERAL ALLEGATIONS

        6. APT admits the allegations in paragraph 6.

        7. APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 7.

        8. APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 8.

        9. APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 9.

        10. APT is without sufficient knowledge to admit or deny the allegations,


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inferences, and legal conclusions in paragraph 10 and, accordingly, denies the

same.

        11. APT admits that in mid-June 2022 Tabor and his wife were covered

under APT’s health insurance coverage. APT is without sufficient knowledge to

admit or deny the allegations, inferences, and legal conclusions when Tabor’s

wife was diagnosed with aggressive cancer and would have to undergo immediate

chemotherapy treatment as stated in paragraph 11 and, accordingly denies the

same. APT denies each of the remaining allegations, inferences, and legal

conclusions contained in paragraph 11.

        12. APT denies each of the allegations, inferences, and legal conclusions in

paragraph 12, inclusive subparagraphs (a-e) in paragraph 12.

        13. APT admits only that Exhibit “A” speaks for itself. APT is without

sufficient knowledge to admit or deny each of the remaining allegations,

inferences, and legal conclusions contained in paragraph 13 and, accordingly,

denies the same.

        14. APT is without sufficient knowledge to admit or deny the allegations,

inferences, and legal conclusions contained in paragraph 14 and, accordingly,

denies the same.

        15. APT denies the allegations, inferences, and legal conclusions that Tabor

is entitled to recover his attorney’s fees and costs contained in paragraph 15. APT

is without sufficient knowledge to admit or deny the remaining allegations,




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inferences, and legal conclusions contained in paragraph 15 and, accordingly,

denies the same.

    COUNT I – ALLEGED VIOLATION OF THE ADA – DISABILITY
                      DISCRIMINATION

      16. APT incorporate by reference its answers and responses to paragraphs 1

through 15 of the Complaint as though fully set forth below.

      17. APT admits that under 42 U.S.C. § 12112(b)(4), the term “discriminate

against a qualified individual on the basis of disability” includes, excluding or

otherwise denying equal jobs or benefits to a qualified individual because of the

known disability of an individual with whom the qualified individual is known to

have a relationship or association. APT denies each of the remaining allegations,

inferences, and legal conclusions contained in paragraph 17.

      18. APT denies each of the allegations, inferences, and legal conclusion

contained in paragraph 18.

      19. APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 19.

      20. APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 20.

      21. APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 21.

      In response to the “wherefore” prayer for relief in subparagraphs (A)

through (J) immediately following paragraph 21, APT admits that Tabor is



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entitled to a jury trial on only those issues so triable. APT denies it engaged in

unlawful associational disability discrimination against Tabor in violation of the

ADA, denies it caused any damage to Tabor, and denies Tabor is entitled to any

recovery, remedies, damages, compensation, benefits, attorney’s fees, costs, or any

other relief sought in subparagraphs (A) through (J) following paragraph 21. APT

denies each of the remaining allegations, inferences, and legal conclusions

contained in the subparagraphs (A) through (J) following paragraph 21.

        COUNT II – ALLEGED VIOLATION OF THE ADEA – AGE
                        DISCRIMINATION

      22.    APT incorporate by reference its answers and responses to paragraphs

1 through 15 of the Complaint as though fully set forth below.

      23.   APT admits that under 29 U.S.C. § 623(a)(1), makes it unlawful for an

employer to fail or refuse to hire or to discharge any individual or otherwise

discriminate against any individual with respect to his compensation, terms,

conditions, or privileges of employment, because of such individual’s age. APT

denies each of the remaining allegations, inferences, and legal conclusions

contained in paragraph 23.

      24.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 24.

      25.   APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 25.

      26.    APT denies each of the allegations, inferences, and legal conclusions



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contained in paragraph 26.

      27. APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 27. In response to the “wherefore” prayer for relief in

subparagraphs (A) through (J) immediately following paragraph 27, APT admits

that Tabor is entitled to a jury trial on only those issues so triable. APT denies it

engaged in unlawful age discrimination against Tabor in violation of the ADEA,

denies it caused any damage to Tabor, and denies Tabor is entitled to any recovery,

remedies, damages, compensation, benefits, attorney’s fees, costs, or any other

relief sought in subparagraphs (A) through (J) following paragraph 27. APT denies

each of the remaining allegations, inferences, and legal conclusions contained in

the subparagraphs (A) through (J) following paragraph 27.

COUNT III – ALLEGED VIOLATION OF THE FLORIDA CIVIL RIGHTS
                 ACT – AGE DISCRIMINATION

      28.    APT incorporate by reference its answers and responses to paragraphs

1 through 15 and 21 and 26 of the Complaint as though fully set forth below.

      29.    APT admits that under FCRA § 760.10(1)(a), makes it unlawful

employment practice for an employer to discharge or to fail or refuse to hire any

individual, or otherwise to discriminate against any individual with respect to

compensation, terms, conditions, or privileges of employment, because of such

individual’s race, color, religion, sex, pregnancy, national origin, age, handicap, or

marital status. APT denies each of the remaining allegations, inferences, and legal

conclusions contained in paragraph 29.



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      30.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 30.

      31.   APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 31. In response to the “wherefore” prayer for relief in

subparagraphs (A) through (J) immediately following paragraph 31, APT admits

that Tabor is entitled to a jury trial on only those issues so triable. APT denies it

engaged in unlawful age discrimination against Tabor in violation of the FCRA,

denies it caused any damage to Tabor, and denies Tabor is entitled to any recovery,

remedies, damages, compensation, benefits, attorney’s fees, costs, or any other

relief sought in subparagraphs (A) through (J) following paragraph 31. APT denies

each of the remaining allegations, inferences, and legal conclusions contained in

the subparagraphs (A) through (J) following paragraph 31.

   COUNT IV – ALLEGED VIOLATION OF TITLE VII – RELIGIOUS
                     DISCRIMINATION

      32.    APT incorporate by reference its answers and responses to paragraphs

1 through 15 of the Complaint as though fully set forth below.

      33.   APT admits that under Title VII § 2000e-2(a)(1), makes it unlawful

employment practice for an employer to fail or refuse to hire or to discharge any

individual, or otherwise to discriminate against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because of such

individual’s race, color, religion, sex, or national origin. APT denies each of the




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remaining allegations, inferences, and legal conclusions contained in paragraph

33.

      34.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 34.

      35.   APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 35.

      36.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 36.

      37.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 37.

      38.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 38. In response to the “wherefore” prayer for relief in

subparagraphs (A) through (J) immediately following paragraph 38, APT admits

that Tabor is entitled to a jury trial on only those issues so triable. APT denies it

engaged in unlawful religious discrimination against Tabor in violation of Title VII,

denies it caused any damage to Tabor, and denies Tabor is entitled to any recovery,

remedies, damages, compensation, benefits, attorney’s fees, costs, or any other

relief sought in subparagraphs (A) through (J) following paragraph 38. APT denies

each of the remaining allegations, inferences, and legal conclusions contained in

the subparagraphs (A) through (J) following paragraph 38.




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COUNT V – ALLEGED VIOLATION OF THE FLORIDA CIVIL RIGHTS
            ACT – RELIGIOUS DISCRIMINATION

      39.    APT incorporate by reference its answers and responses to

paragraphs 1 through 15 and 34 and 37 of the Complaint as though fully set forth

below.

      40.    APT admits that under FCRA § 760.10(1)(a), makes it unlawful

employment practice for an employer to discharge or to fail or refuse to hire any

individual, or otherwise to discriminate against any individual with respect to

compensation, terms, conditions, or privileges of employment, because of such

individual’s race, color, religion, sex, pregnancy, national origin, age, handicap, or

marital status. APT denies each of the remaining allegations, inferences, and legal

conclusions contained in paragraph 40.

      41.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 41.

      42.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 42.

      43.    APT denies each of the allegations, inferences, and legal conclusions

contained in paragraph 43. In response to the “wherefore” prayer for relief in

subparagraphs (A) through (J) immediately following paragraph 43, APT admits

that Tabor is entitled to a jury trial on only those issues so triable. APT denies it

engaged in unlawful religious discrimination against Tabor in violation of the

FCRA, denies it caused any damage to Tabor, and denies Tabor is entitled to any



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recovery, remedies, damages, compensation, benefits, attorney’s fees, costs, or any

other relief sought in subparagraphs (A) through (J) following paragraph 43. APT

denies each of the remaining allegations, inferences, and legal conclusions

contained in the subparagraphs (A) through (J) following paragraph 43.

                                 JURY DEMAND

      The Complaint contains a jury demand and not a factual allegation to which

an admission or a denial is required. APT acknowledges Tabor is asking for a jury

trial and admits Tabor is entitled to a jury trial on only those issues so triable.

                              PRAYER FOR RELIEF

      APT denies that Tabor is entitled to any relief sought in his Complaint and

prayer for relief in subparagraphs 21(A-J), 27(A-J), 31(A-J), 38(A-J), 43(A-J),

including, but not limited to, all legal and equitable relief, back pay, front pay or

future lost wages, lost benefits, damages for emotional distress, humiliation, and

loss of dignity and other non-pecuniary losses, liquidated damages, punitive

damages, compensation for adverse tax consequences, interest, expenses and

costs, and attorney’s fees.

                     TO THE COMPLAINT AS A WHOLE

      APT denies each and every allegation and inference in Tabor’s Complaint

that is not expressly admitted in this answer, and denies each and every allegation,

inference, or legal conclusion of alleged wrongdoing.

                  AFFIRMATIVE AND OTHER DEFENSES

      In asserting the affirmative defenses and other defenses that follow, APT


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does not assume the burden of proof as to matters that, pursuant to law, are

Tabor’s burden to prove. In addition, APT reserves the right to assert additional

affirmative and other defenses and matters in avoidance that may be disclosed by

additional investigation and discovery.

                                FIRST DEFENSE

      Tabor’s Complaint is barred, in whole or in part, because it fails to state a

claim upon which relief may be granted.

                               SECOND DEFENSE

      Some or all of Tabor’s claims may be barred, in whole or in part, by the

applicable statute of limitations or statutory procedural requirements.

                                THIRD DEFENSE

      All purported claims brought pursuant to the ADA, ADEA, Title VII, or the

Florida Civil Rights Act of 1992 (“FCRA”) which are outside the scope of, or

otherwise not included in, Tabor’s charge allegedly filed with the Equal

Employment Opportunity Commission (“EEOC”) and/or the Florida Commission

on Human Relations (“FCHR”) and/or not investigated by the EEOC and/or FCHR

are barred because of the failure to satisfy the statutory prerequisites or because of

a lack of subject matter jurisdiction.

                               FOURTH DEFENSE

      All purported claims brought pursuant to the ADA, ADEA, or Title VII with

respect to acts or events that occurred or are alleged to have occurred, or with

respect to whether Tabor was notified, earlier than 300 days before the filing of


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Tabor’s charge with the EEOC are barred by the applicable statute of limitations or

statutory procedural requirements.

                               FIFTH DEFENSE

      All purported claims brought pursuant to the FCRA with respect to acts or

events that occurred or alleged to have occurred, or with respect to whether Tabor

was notified, earlier than 365 days before the filing of Tabor’s charge with the

FCHR are barred by the applicable statute of limitations or statutory procedural

requirements.

                               SIXTH DEFENSE

      Tabor suffered no adverse employment action or economic consequences

because of any alleged discrimination by APT.

                             SEVENTH DEFENSE

      Some or all of the purported claims and/or relief sought in the Complaint

are barred because APT did not perceive Tabor as disabled, nor did it take any

action against Tabor on the basis of an alleged or perceived qualified individual

with a known disability relationship or association or an alleged record of

impairment.

                              EIGHTH DEFENSE

      Some or all of the purported claims and/or relief sought in the Complaint

are barred because even if Tabor could establish he is disabled and/or a qualified

individual with a known disability relationship or association under the ADA, APT

could not accommodate Tabor without undue hardship.


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                               NINTH DEFENSE

      Some or all of the purported claims and/or relief sought in the Complaint

are barred because even if Tabor could establish he is disabled and/or a qualified

individual with a known disability relationship or association under the ADA,

Tabor cannot establish that APT has failed to accommodate his alleged disability.

                               TENTH DEFENSE

      Some or all of the purported claims and/or relief sought in the Complaint

are barred because all decisions taken with respect to Tabor’s employment have

been based upon legitimate, nondiscriminatory reasons.

                            ELEVENTH DEFENSE

      Even if Tabor were to prove that APT actions and decisions were motivated,

in part, by unlawful discriminatory intent (and he cannot), Tabor’s claims fail

because APT would have taken the same actions and made the same decisions

without regard to any alleged unlawful intent.

                             TWELFTH DEFENSE

      Tabor fails to and cannot state a claim for age discrimination for which relief

can be granted under the ADEA or the FCRA because his Complaint does not

allege, and Tabor cannot show that Tabor would not have been subjected to any

alleged adverse employment action but-for his age.          Tabor’s claim for age

discrimination fails because he cannot meet this heightened standard of proof.




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                          THIRTEENTH DEFENSE

      Tabor fails to and cannot state a claim for religious discrimination for which

relief can be granted under Title VII or the FCRA because his Complaint does not

allege, and Tabor cannot show that Tabor would not have been subjected to any

alleged adverse employment action but-for his religion. Tabor’s claim for religious

discrimination fails because he cannot meet this heightened standard of proof.

                          FOURTEENTH DEFENSE

      Tabor fails to and cannot state a claim for disability discrimination for which

relief can be granted under the ADA because his Complaint does not allege, and

Tabor cannot show that Tabor would not have been subjected to any alleged

adverse employment action but-for his known disability relationship or

association. Tabor’s claim for disability discrimination fails because he cannot

meet this heightened standard of proof.

                            FIFTEENTH DEFENSE

      Some or all of the purported claims and/or relief sought in the Complaint

are barred because APT has at all relevant times maintained, disseminated and

enforced a clear policy against discrimination that establishes reasonable and

effective means of reporting and seeking relief from conduct believed to be

discriminatory and APT has acted in accordance with the policy at all times.

                            SIXTEENTH DEFENSE

      Some or all of the purported claims and/or relief sought in the Complaint

are barred because APT actions were in good faith and were not malicious,


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egregious, in bad faith, or in willful or reckless indifference to any legal rights of

Tabor.

                          SEVENTEENTH DEFENSE

      Some or all of the purported claims are barred in whole or in part because

APT did not participate in, authorize, or ratify the alleged wrongful acts.

                           EIGHTEENTH DEFENSE

      Some or all of the purported claims may be barred because APT exercised

reasonable care to prevent and correct promptly any alleged discriminatory

behavior and Tabor unreasonably failed to take advantage of any corrective

opportunities provided by APT or to avoid harm otherwise.

                           NINETEENTH DEFENSE

      To the extent APT acquires evidence about Tabor that had APT known

earlier Tabor would never have been employed by APT or Tabor would have been

terminated by APT, Tabor is not entitled to any alleged damages and/or equitable

relief based upon this after acquired evidence.

                            TWENTIETH DEFENSE

      APT is not vicariously liable for the alleged discriminatory decisions of

managerial agents when those decisions are contrary to APT’s “good-faith efforts”

to comply with anti-discrimination law.




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                            TWENTY-FIRST DEFENSE

      Tabor’s claims may be barred by the equitable doctrine of laches, estoppel

and/or waiver based on Tabor’s failure to report and/or unreasonable delay in

reporting alleged discriminatory or wrongful actions.

                           TWENTY-SECOND DEFENSE

      Tabor may not recover liquidated damages or punitive damages because

APT did not engage in any conduct that would rise to the level required to sustain

an award for liquidated or punitive damages. Rather, APT’s actions or omissions

were done in good faith and for good cause, and based upon reasonable grounds

for believing APT was in compliance with the ADEA, the FCRA, Title VII, and the

ADA. Therefore, any claims for liquidated damages or punitive damages are

without merit. Further, Tabor failed to plead facts sufficient to support recovery

of liquidated damages or punitive damages.

                           TWENTY-THIRD DEFENSE

      Tabor has failed to mitigate his alleged damages, if any were actually

sustained.

                           TWENTY-FOURTH DEFENSE

      Tabor has suffered no legally cognizable harm and, therefore, is barred from

recovery in this action.

                           TWENTY-FIFTH DEFENSE

      Tabor is not entitled to recover actual damages, compensatory damages,

liquidated damages, punitive damages, attorney’s fees, interest, expenses or costs.


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                           TWENTY-SIXTH DEFENSE

      Tabor’s claims are barred because if Tabor has suffered any damages, such

damages were caused by his own conduct and actions.

                         TWENTY-SEVENTH DEFENSE

      APT will rely upon all proper defenses lawfully available that may be

disclosed by evidence and reserves the right to amend this Answer to state such

defenses.

      WHEREFORE, having fully answered and responded to the allegations in

Tabor’s Complaint, Defendant APT respectively requests that:

      1.       Tabor’s claims be dismissed with prejudice in their entirety;

      2.       Each and every item in each of the requests or prayer for relief in

Tabor’s Complaint be denied;

      3.       Judgment be entered in favor of APT;

      4.       All costs be awarded to APT and taxed against Tabor;

      5.       All reasonable attorney’s fees incurred by APT in this action be

awarded to APT for, among other reasons, Tabor’s commencing and litigating this

action without substantial fact or legal support; and

      6.       This Court grant APT such other and further relief as it deems just and

appropriate.




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Dated: August 4, 2023              Respectfully Submitted,


                                   /s/ Timothy K. Daveler
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                                   Attorneys for Defendant        Advanced
                                   Plumbing Technology, LLC




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                       CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 4th day of August 2023, I
  electronically filed the foregoing with the Clerk of the Court by using the
  CM/ECF system which will send a notice of electronic filing to the
  following:

                           Roderick Victor Hannah
                           Roderick V. Hannah, Esq., P.A.
                           4800 N. Hiatus Road
                           Sunrise, FL 33351-7919


                            /s/ Kara Bernstein
                            Kara Bernstein
